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 1   Brian R. Michalek (SBN 302007)
     Casey T. Grabenstein (pro hac vice)
 2   Joseph M. Kuo (pro hac vice)
     SAUL EWING LLP
 3   161 N. Clark St., Suite 4200
     Chicago, IL 60601
 4   Telephone: (312) 876-7100
     Facsimile: (312) 876-0288
 5   brian.michalek@saul.com
     casey.grabenstein@saul.com
 6   joseph.kuo@saul.com

 7   Andrew Schwerin (pro hac vice)
     SAUL EWING LLP
 8   Centre Square West
     1500 Market Street, 38th Floor
 9   Philadelphia, PA 19102 2186
     Telephone: (215) 972-7184
10   Facsimile: (215) 972-7184
     andrew.schwerin@saul.com
11
     Michael E. Flynn-O’Brien (SBN 291301)
12   BUNSOW DE MORY LLP
     701 El Camino Real
13   Redwood City, CA 94063
     Telephone: (650) 351-7245
14   Facsimile: (415) 426-4744
     mflynnobrien@bdiplaw.com
15
     Attorneys for Plaintiff InfoExpress Inc.
16
                             IN THE UNITED STATES DISTRICT COURT
17                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

18
     INFOEXPRESS INC.
19
                       Plaintiff,               Case No. 5:23-cv-04389-NC
20
                  v.
21
     FORTINET, INC.,                            STIPULATION EXTENDING TIME TO
22                                              RESPOND TO THE INITIAL COMPLAINT

23                     Defendant.

24


     STIPULATION EXTENDING TIME TO
     RESPOND TO THE INITIAL COMPLAINT                                  Case No. 5:23-cv-04389-NC
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 1
                  Pursuant to Local Civil Rule 6-1(a), Plaintiff InfoExpress Inc. (“InfoExpress”) and
 2   Defendant Fortinet, Inc., (“Fortinet”) (collectively “the Parties”) hereby stipulate as follows:
 3                WHEREAS InfoExpress filed its Complaint on, August 25, 2023;

 4                WHEREAS Fortinet’s response to the Complaint is due by September 22, 2023;

                  WHEREAS, pursuant to Local Civil Rule 6-2, InfoExpress and Fortinet conferred
 5
     regarding Fortinet’s request to extend the date to respond to the Complaint, and InfoExpress does
 6
     not object to that request;
 7
                  WHEREAS good cause exists for this extension as defense counsel requires time to
 8
     become knowledgeable about the case to prepare its response;
 9                WHEREAS this is Fortinet’s first request for an extension of time to respond to the

10   Complaint; and

11                WHEREAS this change will not alter the date of any other event or any other deadline

     already fixed by Court order.
12
                  IT IS HEREBY AGREED AND STIPULATED by and between the parties that Fortinet
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     shall have up to and including November 6, 2023, to answer or otherwise respond to InfoExpress’s
14
     Complaint.
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     Dated: September 8, 2023                              Respectfully submitted,
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17
      /s/ Brian R. Michalek, Esq.                          /s/ William Cooper, Esq.
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      Brian R. Michalek (SBN 302007)                       William Cooper (SBN 279385)
19    brian.michalek@saul.com                              wcooper@fortinet.com
      Casey T. Grabenstein (pro hac vice)                  Internal Counsel at Fortinet, Inc.
20    casey.grabenstein@saul.com                           899 Kifer Rd.
      Joseph M. Kuo (pro hac vice)                         Sunnyvale, CA 94086
      joseph.kuo@saul.com                                  (408) 235-7700
21
      SAUL EWING LLP
      161 N. Clark St., Suite 4200                         Attorney for Defendant Fortinet, Inc.
22
      Chicago, IL 60601
      Telephone: (312) 876-7100
23
      Facsimile: (312) 876-0288
24
      Andrew Schwerin (pro hac vice)

     STIPULATION EXTENDING TIME TO
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 1    andrew.schwerin@saul.com
      Centre Square West
 2    1500 Market Street, 38th Floor
      Philadelphia, PA 19102 2186
 3    Telephone: (215) 972-7184
      Facsimile: (215) 972-7184
 4
      Michael E. Flynn-O’Brien (SBN 291301)
 5    Elizabeth Day (SBN 177125)
      BUNSOW DE MORY LLP
 6    701 El Camino Real
      Redwood City, CA 94063
 7    Telephone: (650) 351-7245
      Facsimile: (415) 426-4744
 8    mflynnobrien@bdiplaw.com

 9    Attorneys for Plaintiff InfoExpress Inc.

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     STIPULATION EXTENDING TIME TO
     RESPOND TO THE INITIAL COMPLAINT                         Case No. 5:23-cv-04389-NC
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 1                                          ECF CERTIFICATION

 2                I, Brian R. Michalek, am the ECF user whose identification and password are being used

 3   to file this STIPULATION EXTENDING TIME TO RESPOND TO THE INITIAL

 4   COMPLAINT. Concurrence to the filing of this document was obtained from William Cooper,

 5   counsel for Fortinet, Inc., on September 8, 2023. I declare under penalty of perjury under the laws

 6   of the United States that the foregoing is true and correct.

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     Dated: September 8, 2023                                /s/Brian R. Michalek
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     STIPULATION EXTENDING TIME TO
     RESPOND TO THE INITIAL COMPLAINT                                          Case No. 5:23-cv-04389-NC
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